          Case 1:12-cr-00078-ODE-RGV Document 370 Filed 05/06/16 Page 1 of 2


                                                                           FILED IN CHAMBERS
�..

                             IN THE UNITED STATES DISTRICT COURT U.S.O.C.               -   /l•l·:mta
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                                                 MAY 0 6 2016

      EDGAR CINTORA-GONZALEZ,

              Movant

      v.
                                                       CIVIL ACTION FILE NO.
      UNITED STATES OF AMERICA,                        1:15-CV-3187-0DE-RGV

              Respondent
      '




                                                   ORDER



              This criminal case is before the Court on the Final Report and

      Recommendation of United States Magistrate Judge Russell G. Vineyard

      filed November 23,         2015 (" R&R")      [Doc.   347].    No objections have been

      filed.

              In    the   R&R,   Judge     Vineyard   recommends       that   Movant' s           §     2255

      motion be dismissed as time barred.                   Judge Vineyard also recommends

      that a certificate of appealability ( "COA'')                 be denied.     Specifically,

      Judge    Vineyard      found     that   Movant    has    not    presented        anything           to

      suggest that the circumstances set forth in 28 U.S.C.                        §   2255(f) (2)­

      (4) justify equitable tolling and Movant does not contend that he is

      actually innocent.            In addition,    a COA should be denied because it is

      not debatable that the           §   2255 motion is untimely.

              The   Court    having    read   and   considered       the   R&R   and    noting           the

      absence of any objections,              it is hereby ADOPTED as the opinion and

      order of the Court.            For the reasons set forth in the R&R,                    Movant's

      §    2255 motion      [Doc.   328]   is DISMISSED as time barred,             and a COA is

      DENIED.
Case 1:12-cr-00078-ODE-RGV Document 370 Filed 05/06/16 Page 2 of 2




    SO ORDERED,   this    �    day of     May,   2016.




                                 ORINDA D. EVANS
                                 UNITED STATES DISTRICT JUDGE




                                    -2-
